Case 2:17-cV-00038-G.]Q-TPG ECF No. 1 filed 02/24/17 Page|D.l Page 1 of 23

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Western D1str1ct of Mlchlgan BYr_n;/ scanned; M'CH'GAN

399 Federal Building
110 Michigan Street, N.W.
Grand Rapids, M] 495 03

 

Eric D. Welch,
Plaintiff,

2:17-cv-38

Gordon J. Quist ~ U.S. District Judge

vs. Civil Action No.

Timothy P. Gree|ey - U.S. Magistrate Judge

Mark L. Dobias,
Personally and Indz'vz'dually,
(Mz'chz'gan Attorney Bar
Lz`cense P35] 60),
Defendant.

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VERIF[ED COMPLAINT for DAMAGES

Jury Trial is Dernanded

 

I Introduction

This is a lawsuit that, at the Court’s discretion, is under either a Bz`vens action, a
42 U.S.C. § 1983 action, or both, filed by Plaintiff Eric Welch, a federal prisoner,
alleging violation of his constitutional rights to due process, right of access to the courts7

and seeking injunction relief and money damages

Page l of19

 

Case 2:17-cV-00038-G.]Q-TPG ECF No. 1 filed 02/24/17 Page|D.2 Page 2 of 23

I_I Jurisdiction
a. This action arises under the United States Constitution, Amendments I, V, VIII,
and VIX. Defendant Dobias did deny, impede, or frustrate Plaintiff’s access to the courts,
and his due process of law1 While Defendant acted under color of law (both as a member
of the Michigan Bar and at the same time Defendant Was also admitted to practice in
federal court.) 28 U.S.C. § 1331.
b. The Plaintiff is a citizen of Wisconsin. The Defendant is a citizen of Michigan.
The amount in controversy, Without interest and costs, exceeds the sum or value specified
by 28 U.S.C. §1332.

At the Court’s discretion, supplemental jurisdiction is invoked under 28 U.S.C. §
1367 because certain state-law claims arise out of the same facts as the federal claims,
and are not a novel or complex issue of state laW. Further, that the State claims, While
egregious, do not substantially predominate the federal constitutional claims over Which

the district court has original jurisdiction

 

lLewis v. Casey, 518 U.s. 343 (1996)

Page 2 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 filed 02/24/17 Page|D.3 Page 3 of 23

[[I Parties

Plaintiff: Eric D. Welch,
a Resident2 Citizen of:

7580 Pond Rd.
Hartford, Wisconsin 53027-9226
WI Driver’s License No.: W420-2047-0095-06 (eXp. 3/15/2011)

Mr. Welch’s current contact/incarcerated mailing address:

P.O. BoX 1000/10444-089
U.S. Penitentiary - Marion
Marion, IL 62959

Defendant: Mark L. Dobias,
Michigan Attorney P3516O
546 Ashrnun Street
Sault Ste. Marie, Michigan 497 83
dobiaslaw@sbcglobal.net

 

2 A pn'soner’s residence or “domicile” is presumed to be the state he lived in before being imprisoned
Sullz'van v. Freeman, 944 F.2d 334, 337 (7th Cir. 1991) (citing cases); Smith v. Cummings, 445 F.3d 1254,
1260 (10th Cir. 2006) (citing cases).

Page 3 of19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 filed 02/24/17 Page|D.4 Page 4 of 23

IV. Facts

The 2007 State Case That Preceded Defendant Dobias’ Appointment in the 2010
Federal Case

1. In 2007, the State of Michigan crafted a plea which Plaintiff accepted, for allegedly
Accosting a Child for Irnmoral Purposes, in violation of Michigan Cornp. L.
§750.145a, and Telecornmunications Device Access Violations, in violation of
Michigan Cornp. L. §750.5400. [People v. Welch, Houghton County Circuit Court,
File No. O7-2225-FH, 2007].

2. Counsel (now Judge) Mark Wisti represented Plaintiff, and the transcript summarizes
the facts as follows:

THE COURT: Thank you, Mr. Strorne Mr. Wisti?

l\/IR. WISTI: l will - l think the phrase hunting on the internet for young
girls miscategorizes the facts of this case dramatically, Your Honor. Ah,
what occurred here is that the Michigan State Police used a prostitute to
contact Mr. Welch and advise him that she had a thirteen year old girl
available to have sex with him - fourteen year old girl to have sex with
him, and Mr. Welch, and l don’t condone his behavior at all, Your Honor,
bit on that hook, line and sinker. But this is not a case where he was out
preying on the Internet and approached someone at random, but was in
fact picked out by the police and this prostitute

[Id., Sentencing Transcript at 27, August 31, 2007].

3. (Judge) Wisti7 Witness Krista Welch, and Plaintiff each verified under oath that the
state-court plea promised that in exchange for his guilty and nolo contendre plea7 the
State Would not seek additional charges, state or federal, and “would not forward any

evidence to federal authorities.”

Page 4 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.B Page 5 of 23

Affidavit of Mark Wisti, 1[3: “That it is my recollection of the plea agreement that
the Assistant Prosecuting Attorney`for Houghton County had agreed not to bring
any further charges against Eric Dexter Welch if Mr. Welch entered into a plea
agreement with regard to the State charges

114: “That it is further my recollection that the Prosecuting Attorney’s Offlce
agreed that they would not report this matter to the federal government in

exchange for Eric Dexter Welch’s plea.” [Exhibit A].

Affidavit of Krista Welch, 1[4: “That it is my recollection that the Michigan State
Police and the Prosecuting Attorney informed Eric and l during these meetings (in
total) that if he dropped the ‘entrapment’ defense, and pled guilty to the two
felony charges they were offering, the State Police (Tom Rajala and whoever he
worked with officially or in a professional relationship status) and the Prosecuting
Attorney would not seek any additional charges, state or federal This included
handing any evidence over from the 2007 investigation to the Federal
government

115: That it is further my recollection that l had no reason to believe that all
the necessary permissions to craft such a plea were not obtained l was in Mr.
Wisti’s office in 2007 when we (Eric and I) were told about the plea, and I never
would have suggested that route if we had any reason to doubt it, as Mr. Wisti had
someone from either the prosecutor’s office and/or governmental law

enforcement on the phone while we discussed it.” [Exhibit B].

Affidavit or Eric Welch, 115: “. . .Mr. Wisti, my wife Krista, and l were all in the
room, and all able to hear the voices on the other end of the phone line Rajala and
Strome promised to not seek any additional charges, and also to not seek a federal
prosecution and not turn any evidence over. lt was further added that state
authorities (Strome, Rajala, and their agents) would seek and obtain the
perrnissions to make such a plea, and they would get back in contact with us,

regarding confirmation The evidence was to be destroyed after appeal rights were

Page 5 of19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.€ Page 6 of 23

passed Any bargained charges of child pornography were to be estopped by the
plea and , binding on state and federal jurisdictions.” [Exhibit C].

4. Michigan State Police (“l\/ISP”) Detective Sergeant Tom Raj ala memorialized his
knowledge of the plea in his Incident Report.

“07-31-07 D/Sgt Rajala ‘Welch plead [sic] guilty to Accost Minor lmmoral Purpose
and no contest to Telecommunication Device Violation - both 4 year felonies, this

date Sentencing scheduled for 08-31-2007 at 11 a.m. Possession of Child

599

Pornography will not be authorized as part of plea agreemen .

[Exhibit Di,

5. In October of 2007, two MSP officers witnessed destruction of the evidence in
accordance with the plea and MSP policy. [Exhibit D7 where PROP ITEM 1, the only
item recorded as retained7 was a CD of audio-recorded phone calls, and not the

evidence discussed below].

The State-Court Plea Is Violated After Plaintiff Serves His Sentence
6. In November of 2008, and in violation of the plea (and MSP policy), Det. Rajala
somehow salvaged an unsanctioned copy of the state’s evidence and forwarded it to
the federal government, who then prosecuted it in the Western District of Michigan
[United States v. Welch, U.S. D.C. W.D. Mich, 2:10-cr~8].
7. Det. Rajala transferred the unsanctioned evidence under the cover of an unrelated
incident report, concerning a sex offender named Steven Gilbert Schwechel. [Exhibit

E]_

Page 6 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.? Page 7 of 23

8. Nearly 16 more months passed, and on March 4, 20107 federal authorities arrested
Plaintiff (now a resident citizen of Wisconsin, it being almost three years after the
state-court plea and two years after the state sentence was completed)

9. That same day, shocked and in chains, Plaintiff informed federal court authorities in
Milwaukee as to the state-plea terms Bond counsel Tom Wilmouth of the Federal

Defender Office memorialized the event:

MR. WILMOUTH: ...What Mr. Welch reports to me, and because
everything else he’s told me matches up completely with the bond study,
what he tells me happens is he gets arrested on that 5/29/07 offense in
Houghton County, Michigan for those two counts - accosting and felony
telecommunications - at which time he consents to - he’s at that time a
college student at Michigan Tech, he consents to a search of his computer
at his part-time work at that time, and then these images that are part of the
lone count in the indictment are found

And they question Mr. Welch about it and he says, “Wait, wait a
second, you know, there’s many people with access to that computer.”
And law enforcement says to him, “Well, we’re not concerned about it
right now, we see that you’re resolving the Houghton County, Michigan
case, we’re just going to destroy the evidence.”

That was not quite three years ago but almost three years ago. And
now we get this, look it, it’s a 2010 indictment number, 10-cr-8 out of
Michigan, some three years later, now those images recovered from a
work computer shared by others has got him now on the business end of
the 10 to 20 indictment

What I’m getting at is, obviously the court’s gonna be concerned
about danger to the community with the release of this defendant pending
him having to face the music in Michigan But it strikes me as somewhat
odd that the Michigan prosecutor is saying to Mr. Gonzales [the
Wisconsin Prosecutor], [“]well, we think you ought to be detained[,“]
because where have they been for three years on this[?]

And I’ll tell you what’s happened in those intervening three years
is this particular man has moved to Hartford, Wisconsin, he’s residing at
the address on the bond study, so he’s lived there for about two-plus years,
he’s married with two children7 age 2-1/2 and 7. He is - I’m sorry, 7
months 1 apologize

rita CoURr; night

Page 7 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.S Page 8 of 23

MR. W'ILMOUTH: 2-1/2 and 7 months He’s obtained very good
employment You know, he got that electrical engineering degree at
Michigan Tech and now he’s working at Power Systems full-time He
makes a very, very good wage, but because of debts in the family there’s
not any monies to post and there’s no equity in that home to post

[Transcript at 8-10, United States v. Welch, Case No. 10-1\/1-213, lnitial Appearance in
Milwaukee, Wisconsin, March 4, 2010, U.S. D.C. E.D. Wisconsin, Hon. Patricia
Gorence].
The court agreed with Mr. Welch’s position, and commented on the comparison
of the 2007 state plea and the 2010 federal prosecution of the same case:
THE COURT: l’m looking at the charge in the indictment, and it

appears to be different in some fashion And I agree there may be a good
argument for the double jeopardy argument . .” [[a’. at 11-12]

Defendant Dobias Stumbles Onto the Scene

10. Three weeks later, the U.S. District Court for the Western District of Michigan
appointed Mark L. Dobias (the Defendant at bar), under CJA. [Doc. 9, United States
v. Welch, 2:10-cr-8, March 30, 2010].

11. Plaintiff spoke immediately with Defendant Dobias as to both dismissing the federal
case for double jeopardy (and due process violations), but importantly, asked
Defendant to do something meaningful with the state court plea agreement violation
Defendant declined as to the federal case, and was barely responsive as to the state
case: During April of 2010 and following, Defendant said it was possible to attack the

state plea violation, but left it at that

Page 8 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.Q Page 9 of 23

12. Seven months later (after losing at federal trial on October 5, 20103), Plaintiff
continued to voice concern to Defendant over the state-court plea violation, and,
having been ignored for seven months on the topic, Plaintiff turned his attention to
the federal court by writing three letters to the judge personally While admittedly
they were filed prior to sentencing, the letters did not exist in a vacuum, for they
plainly provided state-case context Plaintiff asked to not only “dismiss” the federal
case, but also to “extend the same kind consideration” to the state-court plea
violation A single paragraph can summarize the 22 pages of pro se letter filings (and
two excerpts are attached as Exhibits F1 and F2):

‘1 arn in federal prison right now because the State of Michigan
violated our plea agreement [Exhibit Fl at 2-3]. Please “extend
consideration” [Id. at 1] to both the federal case Bd to “the State of
Michigan vs. Erz`c Dexter Welch.” [Id. at l]. In extending
consideration, 1 want you to “dismi`ss this case” [[d. at 3, Exhibit F2 at
l]. All because the “plea violation” [Ia'. at 2-3] is unfair, a due process
violation, unjust, is cruel and unusual punishment (like double
jeopardy), and is not what l agreed to in the state-court plea agreement
“prornising no federal prosecution.” [[a'. at 2]. By the way, l can offer

an affidavit from Judge Wisti and from an additional witness [Exhibit
A & B] to verify my claim as true and correct’

Defendant Dobias lnterferes With Plaintiff"s Complaints to the Federal Court
About the State Case Plea Violation
13. As soon as the federal judge received Plaintiff s letters, on November 15 and again on
November 16 of 2010, Defendant ordered Plaintiff to stop writing letters to the

federal court (or at least only do so by consulting him first) [Exh. G].

 

3 As chronicled in the letters, but unrelated to this Coniplaint, Defendant prohibited Plaintiff from testifying
at his own trial as to his knowledge of how computer’s operate (the dispositive issue, according to the
Government), by Defendant misleading Plaintiff into believing that there would be an “automatic mistrial”
if he took the stand in his own defense

Page 9 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.lO Page 10 of 23

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Since Plaintiff had been complaining to Defendant all along anyway (providing
evidence from the instant complaint to him), Plaintiff found the suggestion

con fu 3.",15 , but continued requesting his help, all the way up to March of 201 1.
Plaintiff followed Defendant’s legal advice, refrained from filing anything else in
federal court (until Defendant sent Plaintiff instructions on how to file an Anders
reply brief, at which time, Plaintiff filed it in the district court).
ln 2011, Plaintiff independently obtained the affidavits from Judge Wisti and the
additional witness as to the plea violation [Exh. A & B].

Shortly after arriving at Marion-USP (his current mailing address after several
housing transfers between 12/10/2010 through 2/11/2011), Plaintiff made one more
last-ditch effort to get Defendant to file the above concerns with the federal court
against the state case plea violation Defendant responded [See Exh. H], but just 10
days after the one-year 2254 deadline had passed, which incidentally also marked the
one-year anniversary that Defendant Dobias had been acting as Plaintiffs attorney
under color of law.

While not required to quote case law, Plaintiff could find no precedent which says
his Petition would not have prevailed (if he had been allowed to file it, or if his
attorney had done so for him), through 2254, or other legal means given the facts
involved
in November 2014, Plaintiff filed a motion in federal court under 28 U.S.C. § 22547
after exhausting remedies in a slough of post-conviction filings in the state The 2254

included the exhausted state-court post-conviction motion, Lid the letters discussed

Page 10 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.11 Page 11 of 23

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above [Plaintiffs entire 2254 and all state-court post-conviction filings are adopted
into this Complaint paragraph, but to conserve space are adopted by reference]

On July 13, 2015 , the court denied the motion as untimely, saying Mr. Welch “took
no action” prior to March of2011. [Welch v. Michigan, U.S. D.C. W.D. Mich, 2:14-
cv-243, Doc. #16 at 4-].

Plaintiff timely filed a motion to vacate under 59(e), arguing that the court overlooked
that he had filed three letters (i.e. something) before the March 4, 2011 deadline The
stasz's of the controversy only then (after the 2254 was denied) began shifting focus as
to that Mr. Welch had filed letters in November of 20 10 (but not why he had not filed
anything more), since the court mistakenly believed he had “taken no action” prior to
March of2011. [[d.]

In March of 2016, the court denied the motion to vacate Despite not responding in
any way to the letter motions in the first place, the court awoke its attention to them in
the denial of the motion to vacate; “Petitioner now asks this Court to vacate its prior
order approving and adopting the R&R, stating that he did in fact take action prior to
March 2011 and, therefore, his petition was timely. . .Petitioner bases this argument
on letters he wrote to Judge Edgar in November 2010, which he now argues should
have been treated as pro se filings for post-conviction relief which satisfied the statute
of limitations.” [Welch v. Mz`chz`gczn, U.S. D,C. W.D. Mich, File No. 2:14-cv-243,
Doc. 24 at 4]. This unfortunate finding came, despite Plaintiffs arguments under
Castro v. United States, Haz`nes v. Kerner, and Sixth Circuit precedent requesting an

opportunity to re-file (or any sort of response, since the letters did talk of dismissing

Page 11 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.12 Page 12 of 23

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both cases based on the plea violation). The court disallowed Plaintiff to file
amended, formal pleadings, but affirmed its prior position on March 9, 2016.
Petitioner availed himself to an appeal in the Sixth Circuit7 this time following the
district court’s meandering rulings to discover the relevance of the letter filings They
were not a part of the district court’s issue with the 2254 until they overlooked them
after denying it

In September of 2016, a single judge of the Sixth Circuit denied Petitioner’s letter-
filings-as-sufficient to trigger a Castro re-filing opportunity, and equitable tolling
determination [Welch v. Michz'gan, No. 16-1330, Sixth Circuit, September 16, 2016
ORDER]. The September 2016 appellate court denial was the first time that Plaintiff
discovered (or should have discovered) that because he did NOT file anything after
the letters (on the advice of the Defendant), he was now clearly being denied habeas
relief under § 2254 on a “dead bang” winning issue

Petitioner moved for Panel rehearing and was again denied, definitively in January of
2017. [Welch v. Mz'chz`gan, CA6, 16-1330, January 9, 2017]. Procedurally exhausted
and discovering the harm for following Defendant’s advice, Plaintiff filed the instant

Complaint,

Discovery Time
In sum, Plaintiff had no particular and specific reason to believe the accuracy of the
district court’s ruling until he completed his appeal The district court’s 2254
dismissal never commented on the letter filings On reconsideration7 the district court

treated the letters as an afterthought7 and “new”, even though they were there all

Page 12 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.13 Page 13 of 23

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along and included in the post-conviction filings in the State lt was not until the
appellate decision (of the oversight of the district court) that Plaintiff had reason to
believe Defendant’s actions ultimately assassinated Plaintiffs 2254 opportunity
Defendant’s November 2010 advice to “stop writing anything” to the federal court
harmed Plaintiff s ability to file his 2254. The Sixth Circuit found that Petitioner’s
letter filings asking the district court (after federal trial) to dismiss both the federal
and state case for a plea violation were not ‘formal enough’ to ‘count’ as filings to
initiate a petition under § 2254. The Sixth Circuit determined the following, inter
alia: “Welch argued that he filed three letters in that federal case on November 15
and 16, 2010, that should be construed as post-conviction motions to toll the statute of
limitations in [the § 2254] case . .Because the letters were filed [by the clerk] in
Welch’s federal criminal case and cannot be construed as seeking state post-
conviction relief, they do not toll the statute of limitations.” [Welch v. Michigan,
CA6, 16-1330, September 16, 2016 at 3-4]. Since the issue was not discovered until
after the district court’s order was appealed (the letters did not form part of the case-
in-chief of the 2254 until appeal), Plaintiff, being a layman in the law, could not have
known of the harm of the “stop filing” legal advice commanded by the Defendant,
until the appeals court got around to squarely confronting the issue

Plaintiff discovered both his injury, the person who, and the act that, were the cause
of the injury when (1) the Sixth Circuit both squarely denied the 2254 as “untimely”
and not “equitably tolled” and because (2) the non-lawyer Plaintiff had not filed a
formal stay-and-abey motion (and formal motion under 2254), (3) based on

Defendant counsel’s (unconstitutional) advice (or negligent advice or

Page 13 of19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.14 Page 14 of 23

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misrepresentation) that Defendant would do something but (4) only if Plaintiff “stop
writing” the court otherwise Defendant’s (unconstitutional) actions impeded,
interfered, frustrated or denied Plaintiffs process due him by telling him to stop
writing the court

Defendant had a duty as Plaintiffs attorney to ensure Plaintiff the “process that is
due” and as counsel Defendant had a duty - at a minimum if he wasn’t offering
affirmative help - to at least not interfere with the 2254 against the state-court plea
violation

The federal court hearing the 2254 never met the meritorious claim of the state-court
plea violation, and never mentioned the state-court judge affidavit, and additional
witness affidavits If the court had, Plaintiff would likely have received a hearing and
relief under Blackledge v. Allz'.ro)z, Santobello v. New York, Machibroda, 2254, and
other authority for the plea agreement issue (violated after discharge of sentence).
Should the 2254 have been permitted to be filed (instead of Defendant counsel
blocking all Plaintiffs state-court complaints to the federal court), then Plaintiffs
filing would be timely Plaintiff reasonably believed his pro se letters would work,
but more importantly relied on his attomey’s advice to “not file anything.” But for
Defendant Dobias’ advice, Plaintiff would have prevailed

Overtuming the violated plea agreement (after full discharge of punishment), would
reduce the federal court’s dilatory criminal enhancement calculation by several years
(from 168 months down to 120 months, a four-year reduction, based on the prior
state-court conviction’s constitutional infirmity and withdrawal from the record).

Plaintiff s yearly income of $85,000 becomes $340,000 over four years, and whether

Page 14 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.15 Page 15 of 23

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or not the misleading advice to stop filing in a federal court (against the State of
Michigan) was outside of the attorney/client contract, punitive and/or compensatory
damages of 5340,000 are appropriate Additionally, Plaintiff would, with the state
conviction set aside, been allowed to have any time served on the state sentence
applied to his federal sentence where the state sentence conduct would have been
“related.” (After all, the sentence had already been fully discharged.)

The four-year enhanced harm denied Plaintiff the right to direct the education and

upbringing of his children, (as well as the right to have more children.)

Claims
A. Right of Access to the Court

While the Court may or may not enforce Bounds4, the heightened requirements of
Lewz's v. Casey 518 U.S. 343 (1996) are helpful here (1) Plaintiffwas, or is, suffering
“actual injury” by being “frustrated or impeded” in his right to file his 2254 by
Defendant Dobias’ directives, (2) in bringing a non-frivolous 2254 claim (the State
actor violating the “no federal prosecution/no turning evidence over to the federal
authorities” promises verified in the record police report and three witness affidavits,
including one from a judge), and (3) at the same time that Defendant was acting,
under color of law, as Plaintiffs attorney in a federal case Lewz's, 518 U.S. 343, 351-

53, 55 (1996).

 

“ sounds v. szzh, 430 U_s. 817, 822 (1977)

Page 15 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.16 Page 16 of 23

35 . Defendant caused Plaintiff actual injury of frustrating or impeding his filings, causing
an untimeliness dismissal5

36. Defendant’s frustration of Plaintiffs access to the courts blocked a non-frivolous
claim6 Plaintiffs 2254 case has never been rebutted on the merits, and compensatory
damages are appropriate (adopting 1[1]3-8, 12, 28 above, for Plaintiffs claim, and also
Welch v. Michigan, U.S. D.C. W.D. Mich, File No. 2:14-cv-243 to include all state-
court post-conviction filings included therein),

37. Frustrated or Impeded: At the time Plaintiff wrote the letters (November of 2010 and
following), Defendant was the only “access” to federal law, since the jails in which
Plaintiff was housed had no adequate federal law (i.e. habeas corpus 2254) resources
For all that, Defendant maintained his position as counsel such that Plaintiff believed
he could not and should not write the court any more letters, even after Plaintiff ‘s
arrival at federal prison, and Defendant would take care of it, instead (but didn’t).

38. The remedy is to declare that Defendant violated Plaintiff s constitutional rights to the

courts (his § 2254 filing), or at least an injunction/declaratory relief under § 1983 to

 

5 Two examples of actual injury appear in Lewz`s (due to interference by a defendant): “[The inmate] might
show, for example, that a complaint he prepared Was dismissed for failure to satisfy some technical
requirement which. . .he could not have kiiown." Anotlier example of injury are that Plaintiff had suffered
arguably actionable harm “that he wished to bring before the courts, but was so styrnied by inadequacies of
the law library [here, legal counsel] that he was unable even to file a complaint.” Lewz‘s at 351-53.

6 To violate the right of court access, Defendant “i`rustrated or impeded” a 2254 claim that is not iiivolous.
Lewz`s v. Casey, 518 U.S. 343, 353. That means that the plea violation must be “arguable." Nei'tzke v_
Willz`ams,490 U.S. 319, 325 (1989). Plaintiff does not have to prove that he would have Won the 2254 Bell
v. Johnson, 308 F.3d 5 94, 607 (6th Cir. 2002) (holding that losing a case on summary judgment does not
make it frivolous, and that it could be the basis for a court clairn); Simkins v. Bruce, 406 F.3d 1237, 1244
(10th Cir. 2005) (“Lewz`s” does not suggest that the plaintiff must prove a case within a case to show that the
claim hindered or impeded by the defendant necessarily would have prevailed); G0/nez v_ Vernon, 962
F.Supp. 1296, 1302 (D. Idaho 1997). in Christopher v_ Harbwy, the Supreme Court required that plaintiffs
plead the claim that they say was “Hustrated or impeded.” See, therefore, Plaintiii`s complaint about denial
of court access, which also set out the claim that Was “ii'ustrated or irnpeded.” (iiji 12-14 above).

Page 16 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.17 Page 17 of 23

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remove the Defendant-created obstacle with a “fresh start” for Plaintiff to have a

procedurally and substantially fair 2254

B. Due Process
Defendant’s letter to Plaintiff (Exhibit G) shows intention to stop him from filing
Even though the federal case was under Defendant’s care, the order he gave to
Plaintiff to “stop filing” carried consequences that neglected Plaintiff’s state habeas
rights Defendant Dobias intentionally interfered with Plaintiff’s liberty interest
Plaintiff has exhausted his post-deprivation remedies, in both state and federal court,
giving rise to, and making ripe, the issue under Complaint.

There is no grievance procedure available for this § 1983 against counsel

C. Legal Malpractice
The existence of an attorney-client relationship',
Defendant’s negligence directly caused the Plaintiff to not file even a basic-form
2254 motion
The Defendant’s negligence was the proximate cause of the injury noted above
The fact and extent of the injury alleged is not simply a “non-frivolous” filing (see
Claim A7 above), but a claim with all the factors to overturn the plea in the state court
This would have repaired the erroneously high criminal history in the federal case,
and Plaintiff would have enjoyed a lower guideline range on his sentence and since

Plaintiff received a sentence within the guideline range would probably recived a

Page 17 of 19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.18 Page 18 of 23

sentence at least 48 months shorter plus credit for time served on the related but now

set aside state conviction

D. Neg]igent Misrepresentation

46. The defendant made a material misrepresentation (i.e. that he would file Plaintiffs
2254-related issues for him. . .but only after the deadline passed, wrote that he would
“have to research it”). [Exh. G].

47 . Defendant’s representation proved to be false

48. The defendant was negligent in making the misrepresentation (and Petitioner’s First
Amendment rights), z`.e., the defendant breached a business or professional duty of
care to provide accurate information to Plaintiff, whom he served

49. The plaintiff suffered damages as a result (see Claim A, above).

VI Re]ief Reguested

WHEREFORE, Plaintiff requests that this Court grant the following relief:

A. Declare that Defendant Dobias violated Plaintiffs First (or Eighth) Amendment
rights when he denied, impeded or frustrated his access to the Court and caused
Plaintiffs 28 U.S.C. § 2254 to be untimely

B. Declare that Defendant Dobias violated Plaintiffs Fifth and Fourteenth Amendment
rights to procedural due process (where a slam-sunk 2254 state court issue indirectly
increased Plaintiffs federal sentence by at least four years) harming his liberty

interest

Page 18 of19

Case 2:17-cV-OOO38-G.]Q-TPG ECF No. 1 fi|ed 02/24/17 Page|D.19 Page 19 of 23

. Declare that, under the Court’s Supplemental jurisdiction of 28 U.S.C. § 13677
Defendant Dobias (in his individual personal capacity) committed legal malpractice
negligent misrepresentation or both, under color of law: Defendant acted negligently,
made material misrepresentation or both, harming Plaintiff s state-court habeas rights

under 2254 while Defendant served as a federal defense attorney in Plaintiff s federal

case, breaching a duty of care and causing harm while in an attorney-client

relationship

D_ lssue an injunction to re-open Plaintiff 2254 and appoint attorney Howard W_

Anderson 111 to represent7 prepare, and file an amended 2254 to be heard on the

merits of the state-court plea violation and vacate Plaintiff s state conviction

E. Award compensatory damages to cover attorney’s fees, discovery, costs and paralegal

services for the appointed counsel in 1111 above;

F. Award compensatory damages of $400,000 and punitive damages of $400,000 for

each of the requests in 1111 A B, and C, above

G. Grant Plaintiff such other relief as it may appear Plaintiff is entitled to.

Respectfully Submitted7

/iA/@ /7, mr
Date Executed

 

1 swear and verify under penalty of perjury
pursuant to 28 U.S.C. § 1746 that the
foregoing is true and correct Further, that it
has been filed this day under prison mailbox
rule in the institution’s internal mail system
designed for legal mail, United States Postal
Service first-class postage pre-paid

aia /J»Z/z

Eric D. Welch7 pro se
10444-089

U_ S. Penitentiary ~ Marion
P.O. Box 1000

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Page 19 of19

 

 

 

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